          Case 4:23-cv-03223-KAW Document 4 Filed 06/29/23 Page 1 of 1




                                   UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA

Tremblay, et al,                                                3:23-cv-03223-KAW
                                                     Case No.
                   Plaintiff(s),
                                                     CONSENT OR DECLINATION
          v.                                         TO MAGISTRATE JUDGE
                                                     JURISDICTION
OPENAI, INC., et al,

                   Defendant(s).

INSTRUCTIONS: Please indicate below by checking one of the two boxes whether you (if you
are the party) or the party you represent (if you are an attorney in the case) choose(s) to consent
or decline to magistrate judge jurisdiction in this matter. Sign this form below your selection.

       ☐ CONSENT to Magistrate Judge Jurisdiction

        In accordance with the provisions of 28 U.S.C. § 636(c), I voluntarily consent to have a
United States magistrate judge conduct all further proceedings in this case, including trial and
entry of final judgment. I understand that appeal from the judgment shall be taken directly to the
United States Court of Appeals for the Ninth Circuit.

       OR

       ✔ DECLINE Magistrate Judge Jurisdiction
       ☐

       In accordance with the provisions of 28 U.S.C. § 636(c), I decline to have a United States
magistrate judge conduct all further proceedings in this case and I hereby request that this case be
reassigned to a United States district judge.

 DATE: June 29
        _______________,   23
                         20____                   NAME: Matthew Butterick

                                                           /s/ Matthew Butterick
                                                                        Signature
                                           COUNSEL FOR
                                           (OR “PRO SE”):
                                                          Counsel for Individual and
                                                           Representative Plaintiffs Paul
                                                           Tremblay and Mona Awad and the
                                                           Proposed Class
